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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSEPH RAUSCH : CIVIL ACTION
Plaintiff, :
V.
No:
PHILADELPHIA SCHOOL DISTRICT

Defendant

COMPLAINT AND JURY DEMAND

l. INTRODUCTION

1. Plaintiff, Joseph Rausch, claims of Defendant, Philadelphia School
District, is a municipal corporation duly organized and existing under the laws of the
Commonwealth of Pennsylvania, a sum in excess of $150,000 in damages upon a
cause of action whereof the following is a statement:

2B This action for declaratory, injunctive, monetary, and other appropriate
relief is brought by Plaintiff to redress violations by Defendant of rights secured to
Plaintiff by the laws of the United States of America.

3. This action arises under Title VII of the Civil Rights Acts of 1964 (‘Title
VII’), 42 U.S.C. §2000(e), et seq., as amended by the Civil Rights Act of 1991 at 42
U.S.C. §1981(a), and is brought by Plaintiff to redress arbitrary, improper, unlawful,

willful, deliberate, and intentional discrimination and retaliation by Defendant with
respect to his race (Pacific Islander) and national origin (Filipino). Plaintiff also asserts
discrimination and retaliation claims under the Philadelphia Fair Practices Ordinance,

Chapter 9-1100 of the Philadelphia Code (“PFPO’).
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ll. JURISDICTION AND VENUE

4. The jurisdiction of this Court is invoked pursuant to Title 28 U.S.C. §1331
and Title 42 U.S.C. §2000e-5(f), which provide for original jurisdiction of Plaintiff's claims
arising under the laws of the United States and over actions to recover damages and to
secure equitable and other relief under the appropriate governing statutes.

5. The venue of this Court is invoked pursuant to the dictates of Title 28
U.S.C. §1391(c).

6. The supplemental jurisdiction of this Court is invoked pursuant Title 28
U.S.C. §1367 to consider Plaintiff's claims arising under the PFPO.

7. All conditions precedent to the institution of this suit have been fulfilled.

On October 19, 2021 and December 15, 2021, Notices of Right to Sue were issued by
the Equal Employment Opportunity Commission. The action has been filed by the
Plaintiff within ninety (90) days of receipt of said notices. The Plaintiff has exhausted all
other jurisdictional requirements to the maintenance of this action under the PFPO.

lll. PARTIES

8. Plaintiff, Joseph Rausch, is an adult individual who resides therein at 9349
Outlook Avenue, Philadelphia, Pennsylvania.

9. Defendant, Philadelphia School District, was and is now a municipal
corporation duly organized and existing under the laws of the Commonwealth of

Pennsylvania with a place of business located at 440 North Broad Street, Philadelphia,

Pennsylvania.
10.  Atall times relevant hereto, the Defendant waw acting through its agents,

servants, and employees, who were authorized and acting within the scope of their
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authority, course of employment, and under the direct control of the Defendant.

11. Atall times material herein, the Defendant has been a "person" and
"employer" as defined under Title VIl and the PFPO, and are subject to the provisions of
each said Act.

IV. STATEMENT OF CLAIMS

12. Plaintiff was originally hired by Defendant in or about September, 1998,
and has continued working until the present in the capacity of food service manager.

13. During the course of his employment, Plaintiff has performed all of the
duties and obligations commensurate with his position in a dutiful and competent
manner.

14. In 2018, Plaintiff filled filed a Federal lawsuit against Defendant alleging
that he was being subjected to discrimination on the basis of his national origin.

15. | Subsequent to the conclusion of said litigation, Plaintiff was victimized by
repeated acts of retaliation and reprisal, continued acts of discrimination in the terms,
conditions and privileges of his employment, has been denied promotional opportunities
due to his national origin, and has subjected to ongoing harassment and discrimination
by Defendant's management.

16. Since being placed at the Felton Hill Intermediate School (“Felton Hill”) in
beginning of the 2016-2017 school year, Plaintiff has experienced persistent problems

beyond his control which have impacted his ability to meet his assigned goals for the

number of meals served per day.
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17. The problems which existed at the Felton Hill included a broken food
warmer, the need for pest extermination, lack of adequate cold storage space, and
understaffing.

18. In fact, Plaintiffs Field Supervisor, Jared Lee (“Lee”), had visited the
facility on numerous occasions prior to Plaintiffs arrival, and was well aware of the
problems which existed and were never corrected.

19. Nevertheless, soon after Plaintiffs arrival, in October, 2018, he was
subjected to increased scrutiny by Lee and blamed for several occurrences at Felton
Hill which were beyond his control.

20. ‘Plaintiff perceived that the treatment he was experiencing by Lee was
motivated by reasons of discrimination against him on the basis of his national origin
(Pacific Islander) and for him having previously engaged in protected activity by filing
charges of discrimination and a discrimination lawsuit.

21.  Inconnection thereto, Lee supervises approximately thirty (30) schools for
Defendant, all of which are subject to three (3) routine compliance visits annually.

22. However, during the 2018 — 2019 school year, Lee visited Felton Hill to
observe Plaintiff's performance on at least five (5) occasions, including October 24,
2018, December 3, 2018, December 11, 2018, December 14, 2018, and January 7,
2019.

23. Plaintiff was allotted a racially disproportionate number of compliance
visits which far exceeded that of similarly-situated Caucasian co-workers.

24. After his first visit of Plaintiff's facility, Lee sent an email for him to review

the audit and address all noncompliant items.
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25. ‘Plaintiff responded to Lee's message via email on November 26, 2018, by
noting that one infraction could not be avoided due to lack of sufficient cold storage
space. Plaintiff additionally requested verbal notice of any forms needing his review in
the future, another area of criticism.

26. Lee verbally responded to Plaintiff's message by telling him to “tone down”
his email." Lee also sarcastically remarked that Plaintiffs English had improved, and
reference the fact that English was not his first language and that he spoke with an
accent.

27. During a professional development training on January 18, 2019, Lee
stated to Plaintiff: “you cannot send an email the way you text”. “You cannot send email
the way you talk”. As Lee made these remarks, he stared at Plaintiff and directed his
remarks towards him.

28. Plaintiff responded to Lee that he felt he was discriminating against people
who speak English as their second language and who and who are of different ethnic
backgrounds.

29. Notwithstanding Plaintiffs complaint concerning the said discriminatory
actions, Lee failed to take Plaintiff's complaint seriously or to report the incident to
Defendant’s Human Resources Department for further investigation.

30. Plaintiff also learned at or about that time that John Seracino, another

manager, sent Lee and others an email referring to the fact that Plaintiff had filed a prior
lawsuit against the Defendant. Plaintiff believes and avers that the subject matter of his
discrimination lawsuit was also freely discussed amongst management.

31. | Thereafter, Lee continued to subject Plaintiff to discriminatory retaliatory
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treatment when on February 27, 2019, he imposed additional requirements upon
Plaintiff which were not imposed on other food service managers.

32. Plaintiff was also repeatedly denied professional advancement because
he did not score high enough on Defendant's written exam, in further retaliation for him
complaining about discrimination.

33. Thereafter, Plaintiff registered a formal complaint of discrimination with
Defendant's Human Resources Representative.

34. On March 13, 2018, Plaintiff also sent an email to Karen Gokay, Deputy of
Labor & Employee Relations, claiming that he believed he was being retaliated against
due to his prior discrimination claim. Plaintiff also claimed that he believed that the
requirement that he pass a written exam in order to be promoted to the position of field
supervisor was discriminatory on the basis of his national origin.

35. Although Plaintiff registered several complaints concerning the said
discriminatory employment practices, Defendant failed to investigate or remediate his
concerns.

36. On January 10, 2019, Plaintiff sent another email to Lewis Bellardine, Chief
Talent Officer for Defendant, referring to his prior complaint, and again reiterating that
he believed that his denial of advancement was retaliatory and that Defendants written
exams excluded individuals who speak English as a second language.

37. | Again, Defendant took no action to address Plaintiffs complaints.
3s. As a result of Defendant’s failure to investigate or remediate his continued
complaints of discrimination and retaliation, Plaintiff filed yet another Charge of

Discrimination against Defendant with the EEOC on December 16, 2019.
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39. _In Plaintiff's most recent Charge he alleged that on April 3, 2019, and April
15, 2019, Defendant filed an unsatisfactory incident report concerning his performance.

40. Defendant's actions in issuing the said discipline were unjustified in that
Defendant had not provided Plaintiff with the necessary supplies, equipment and repairs
needed to properly do his job.

41. Thereafter, in May, 2019, Defendant recommended Plaintiff for
suspension as a result of these alleged violations.

42. The aforesaid actions evidence Defendants continued retaliatory animus
against Plaintiff in all facets of his work, including, but not limited to, his performance,
his receipt of the necessary supplies and support to do his job, and his repeated
attempts for advancement within Defendant's ranks.

43. Defendant routinely turned a blind eye towards the said discriminatory
treatment exhibited towards Plaintiff.

44. The said instances of discrimination were pervasive and regular, and
created an intolerable and hostile working environment for Plaintiff.

45. The Plaintiff believes and avers that as a result of his stated opposition to
those discriminatory practices, he was also subjected to retaliation in the terms,
conditions, and privileges of his employment, and was denied opportunities for

advancement, as aforesaid.
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COUNT |
(TITLE Vil)
National Origin and Race Discrimination/Hostile Work Environment/Retaliation

46. Plaintiff incorporates by reference paragraphs 1 through 45 of this
Complaint fully set forth at length herein.

47. The actions of the Defendant through its agents, servants, and
employees, in subjecting the Plaintiff to a hostile work environment and to discrimination
on the basis of his National Origin (Filipino) and his race (Pacific Islander), in
systematically denying him advancement, and in subjecting him to retaliation, as
foresaid, constituted a violation of Title VII of the Civil Rights Acts of 1964 (“Title VII’),
42 U.S.C. §2000(e), et seq., as amended by the Civil Rights Act of 1991 at 42 U.S.C.
§1981(a).

48. The Defendant’s acts of discrimination and retaliation, as aforesaid, were
intentional, willful and in reckless disregard of Plaintiff's rights and interests.

49. As adirect result of Defendant’s willful and unlawful actions in violation of
Title VII, the Plaintiff has suffered emotional distress, humiliation, embarrassment, loss
of self-esteem and has sustained a loss of earnings, plus the value of the
aforementioned benefits, plus loss of future earning power, plus loss of back pay and
front pay and interest due thereon.

COUNT II

(PFPO)
National Origin and Race Discrimination/Hostile Work Environment/Retaliation

So. Plaintiff incorporates by reference paragraphs 1 through 49 of this

Complaint as if fully set forth at length herein.

51. The actions of the Defendant, through its agents, servants, and
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employees, in subjecting the Plaintiff to a hostile work environment and to discrimination
on the basis of his National Origin (Filipino) and his race (Pacific Islander), in
systematically denying him advancement, and in subjecting him to retaliation, as
foresaid, constituted a violation the PFPO.

52. The Defendant's acts of discrimination as aforesaid were intentional, willful
and in reckless disregard of Plaintiff's rights and interests.

53. Asadirect result of the Defendant's willful and unlawful actions in violation
of the PFPO the Plaintiff has suffered emotional distress, humiliation, embarrassment,
loss of self-esteem and has sustained a loss of earnings, plus the value of the
aforementioned benefits, plus loss of future earning power, plus loss of back pay and
front pay and interest due thereon.

PRAYER FOR RELIEF

54. Plaintiff repeats the allegations of paragraph 1 through 53 of this
Complaint as if set forth herein at length.

WHEREFORE, Plaintiff requests this Court to enter judgment in his favor and
against Defendant and Order that:

(a) Defendant compensate Plaintiff for the wages and other benefits
and emoluments of employment lost, because of their unlawful conduct;
(b) Defendant pay to Plaintiff compensatory damages for future

pecuniary losses, pain, suffering, inconvenience, mental anguish, loss of enjoyment of

life and other non-pecuniary losses as allowable;
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(c) Defendant pay to Plaintiff punitive damages, ads allowed, pre and
post judgment interest, costs of suit and attorney and expert witness fees as allowed by

law;

(d) | The Court award such other relief as is deemed just and proper.

JURY DEMAND

Plaintiff demands trial by jury.

  

 

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